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                  UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF FLORIDA
                         TAMPA DIVISION


UNITED STATES OF AMERICA,

vs.                                       Case No.: 8:23-cr-388-TPB-CPT

MATTHEW FREDERIC BERGWALL,
      Defendant.
______________________________________/

      DEFENDANT’S UNOPPOSED MOTION FOR LEAVE TO FILE
                       UNDER SEAL

      Defendant Matthew Frederic Bergwall, by and through undersigned

counsel, hereby requests this Court for an Order allowing Defendant to file a

Joint Motion to Continue Trial to the May 2024 term under seal.

      Undersigned counsel conferred with AUSA Gammons and was advised

that the Government does not oppose this motion.

Dated: February 23, 2024                  Respectfully submitted:

                                           /s/ Kevin Darken
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                         CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that on February 23, 2024, I electronically filed

the foregoing with the Clerk of Court by using the CMF/ECF system, which

will send a notice of electronic filing to all counsel of record.


                                                    /s/ Kevin Darken
                                                    KEVIN DARKEN




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